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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  LUCAS CALIXTO, et al.

                 Plaintiffs,

                          v.
                                                      Civil Action No.18-1551 (ESH)
  UNITED STATES DEPARTMENT OF
  THE ARMY, et al.,

                 Defendants.



          NOTICE OF FILING DEFENDANTS’ SEPTEMBER 4, 2018 REPORT

       In accordance with the Court’s August 13, 2018, Order, Defendants respectfully submit

the following report, incorporating herein the attached exhibits.

       1. The Court ordered Defendants to file, “under seal, on or before September 4, 2018,

at 12 p.m., a list of every person who has received a discharge order from the U.S. Army

Recruiting Command (USAREC) and/or the U.S. Army Reserve Command (USARC) that was

effective within the year prior to the July 20, 2018 memorandum (July 20, 2017 and July 20,

2018) who were DTP or DEP MAVNI members and whose discharge order(s) are not expected

to be revoked. This report shall specify whether each person’s discharge was due to an

unfavorable MSSD determination or some other reason, and if some other reason, what that

reason was . . . .” ECF No. 23.

       2. Pursuant to the Court’s Order, Defendant has filed a report and exhibits, under seal.

The list does not include identifying information for the individuals discharged, pending the

Court’s ruling on Defendants’ Motion for Leave to File Ex Parte and In Camera Report and for

Clarification. ECF No. 25. The list provides the information required by the Court’s August 13,
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2018 order including each individual’s component (DTP or DEP), date of separation, and the

reason for separation.

       3. A courtesy copy of Defendants’ report will be provided to the Court.

Dated: September 4, 2018                    Respectfully submitted,

                                            JESSIE K. LIU
                                            D.C. Bar # 472845
                                            United States Attorney

                                            DANIEL F. VAN HORN
                                            D.C. Bar # 924092
                                            Chief, Civil Division


                                    By:            /s/________________________
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